           Case 22-33553 Document 787 Filed in TXSB on 07/26/24 Page 1 of 3




                          UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                                  §
In re:                                            § Chapter 7
                                                  §
ALEX JONES,                                       § Case No. 22-33553 (CML)
                                                  §
                Debtor.                           §
                                                  §
                                                  §

      CERTIFICATE OF NO OBJECTION WITH RESPECT TO TRUSTEE’S
APPLICATION FOR ENTRY OF AN ORDER AUTHORIZING THE RETENTION AND
       EMPLOYMENT OF PORTER HEDGES LLP AS CO-COUNSEL FOR
          CHRISTOPHER R. MURRAY, AS CHAPTER 7 TRUSTEE
                       [Relates to Docket No. 756]

         1.     On July 3, 2024, Christopher R. Murray, the Chapter 7 Trustee (the “Trustee”) for

the bankruptcy estate of Alexander E. Jones, filed the Application for Entry of an Order

Authorizing the Retention and Employment of Porter Hedges LLP as Co-Counsel for Christopher

R. Murray, as Chapter 7 Trustee [Docket No. 756] (the “Application”).

         2.     The deadline for receipt of responses (the “Response Deadline”) to the Application

has passed.

         3.     The undersigned represents to the Court that the Trustee is unaware of any objection

or response to the Application appearing on the Court’s docket, that counsel to the Trustee has

reviewed the docket, and no party has filed an objection or response to the relief sought in the

Application.

         4.     Attached hereto is the proposed Order Authorizing the Retention and Employment

of Porter Hedges LLP as Co-Counsel for Christopher R. Murray, as Chapter 7 Trustee (the

“Proposed Order”).

         5.     The Trustee respectfully requests that the Court enter the Proposed Order.



15484783
       Case 22-33553 Document 787 Filed in TXSB on 07/26/24 Page 2 of 3




Dated: July 26, 2024.
       Houston, Texas                     PORTER HEDGES LLP

                                    By:    /s/ Joshua W. Wolfshohl
                                          Joshua W. Wolfshohl (TX 24038592)
                                          1000 Main Street, 36th Floor
                                          Houston, Texas 77002
                                          Telephone: (713) 226-6000
                                          Fax: (713) 226-6248
                                          jwolfshohl@porterhedges.com
                                          sjohnson@porterhedges.com

                                          Proposed Co-Counsel for Christopher R.
                                          Murray, Chapter 7 Trustee

                                          And

                                          JONES MURRAY LLP

                                          Erin E. Jones
                                          Texas Bar No. 24032478
                                          erin@jonesmurray.com
                                          Jacqueline Q. Chiba
                                          Texas Bar No. 24113599
                                          jackie@jonesmurray.com
                                          602 Sawyer St., Suite 400
                                          Houston, TX 77007
                                          Tel. (832) 529-1999

                                          Proposed Co-Counsel for Christopher R.
                                          Murray, Chapter 7 Trustee




                                      2
15484783
        Case 22-33553 Document 787 Filed in TXSB on 07/26/24 Page 3 of 3




                                 CERTIFICATE OF SERVICE

       I certify that on July 26, 2024, I caused a copy of the foregoing document to be served by

the Electronic Case Filing System for the United States Bankruptcy Court for the Southern District

of Texas on all parties receiving electronic service in this bankruptcy case.

                                                      /s/ Joshua W. Wolfshohl
                                                      Joshua W. Wolfshohl




                                                 3
15484783
